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 1                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 2                                       SAN JOSE DIVISION
 3
     IN RE: FUTURE MOTION, INC.                              No.: 23-md-03087-BLF
 4
     PRODUCTS LIABILITY LITIGATION
 5                                                           [PROPOSED] ORDER GRANTING
     ________________________________________                PLAINTIFFS’ PROPOSED
 6                                                           ORGANIZATION AND LEADERSHIP
     This document relates to:                               APPOINTMENTS
 7
     ALL ACTIONS
 8
             Pending before the Court is Personal injury/wrongful death Plaintiffs’ (“PIWD Plaintiffs”)
 9
     Proposed Organization and Leadership Appointments. Upon review of PIWD Plaintiffs’ proposed
10
     leadership structure, any objections thereto, and any orgal arguments, if any, the court determines that
11

12 PIWD Plaintiffs’ Proposal should be GRANTED.

13 IT IS SO ORDERED THAT

14           The organization of PIWD Plaintiffs’ leadership and the members thereof are as follows:
15
     I.      PIWD Plaintiffs’ Co-Lead Counsel
16
             A.      Appointment. Robert W. Cowan of Bailey Cowan Heckaman PLLC and Rene F.
17
     Rocha of Morgan & Morgan shall serve as PIWD Plaintiffs’ Co-Lead Counsel.
18

19           B.      Responsibilities of PIWD Plaintiffs’ Co-Lead Counsel. Messrs. Cowan and Rocha,

20 as Plaintiffs’ Co-Lead Counsel, shall have the following duties and responsibilities:

21           1.      Serve as liaison with the Court for all PIWD Plaintiffs during these coordinated pretrial
22
     proceedings in response to any inquiries by the Court or opposing counsel, subject to the right of any
23
     plaintiff’s counsel to present non-repetitive individual or different positions, as long as the presentation
24
     does not unduly delay the proceedings.
25
             2.      Make or submit any oral or written motions to the Court on behalf of the PIWD
26

27 Plaintiffs, as well as oppose, when necessary, any motions submitted by Defendant involving matters

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 1 within the Lead Counsel’s sphere of responsibilities (except as to matters specifically directed to

 2 individual Plaintiffs and their counsel).

 3
             3.      Negotiate and enter into stipulations with the Defendant regarding the litigation. All
 4
     stipulations entered into by Lead Counsel, except for strictly administrative details such as scheduling,
 5
     must be submitted for Court approval and will not be binding until the Court has ratified the stipulation.
 6

 7           4.      Chair the Executive Committee.

 8           5.      Convene meetings of the Executive Committee for the purpose of proposing joint

 9 action and discussing and resolving matters of common concern.

10           6.      Coordinate discovery on behalf of the PIWD Plaintiffs consistent with the requirements
11
     of Fed. R. Civ. P. 26 and in conjunction with the Executive Committee and Steering Committee.
12
             7.      Consult with and employ expert witnesses on behalf of the PIWD Plaintiffs consistent
13
     with the requirements of Fed. R. Civ. P. 26 and in conjunction with the Executive Committee and
14

15 Steering Committee.

16           8.      Delegate specific tasks to other counsel or designated committees, in a manner that

17 ensures that the PIWD Plaintiffs’ pretrial preparation is conducted effectively, efficiently, and

18
     economically. Monitor the activities of co-counsel to ensure that schedules are met and unnecessary
19
     expenditures of time and funds are avoided.
20
             9.      Explore, develop, and pursue all settlement options pertaining to any claim or portion
21
     thereof in any case filed in this litigation.
22

23           10.     Attend status and case management conferences, including preconference meetings

24 with the Court and opposing counsel.

25           11.     Ensure that court orders are followed, schedules are met, discovery is conducted
26
     consistent with the requirements of Fed. R. Civ. P. 26, unnecessary expenditures of time and funds are
27
     avoided, and any negotiations are reasonably efficient and productive.
28

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 1            12.   Perform any task necessary to carry out the functions of Lead Counsel to properly
 2 coordinate the Plaintiffs’ pretrial activities.

 3
              13.   Perform any other functions as may be expressly authorized and/or required by this
 4
     Court.
 5
     II.      PIWD Plaintiffs’ JCCP-MDL Liaison Counsel
 6

 7            A.    Appointment. Anya Fuchs of Pearce Lewis LLP shall serve as PIWD Plaintiffs’

 8 JCCP-MDL Liaison Counsel.

 9            B.    Responsibilities of JCCP-MDL Liaison Counsel. Ms. Fuchs, as JCCP-MDL Liaison
10 Counsel, shall have the following responsibilities:

11
              1.    Serve as an ambassador amongst and between the members of Plaintiffs’ JCCP
12
     leadership and the members of Plaintiffs’ MDL leadership for the purpose and objective of aligning
13
     and guiding the group towards making decisions with both coordinated proceedings in mind and, when
14

15 appropriate and desirable, to correlate and combine efforts to preclude duplicative work product that

16 will result in unnecessary costs and an undue consumption of time.

17            2.    Propose, when appropriate, that efforts in one coordinated proceeding be adopted or
18
     utilized in the other coordinated proceeding. By way of example, JCCP-MDL Liaison Counsel could
19
     propose the same Plaintiff Fact Sheet be employed in both proceedings (as has already occurred), that
20
     the same or similar offensive discovery be employed in both proceedings (substantively and
21
     procedurally), that depositions of Defendant’s executives that are taken in one coordinated proceeding
22

23 be available for use in the other coordinated proceeding, that documents and other information

24 produced in one coordinated proceeding be available for use in the other coordinated proceeding.

25            3.    Provide periodic reports regarding the status of the JCCP to PIWD Plaintiffs’ MDL
26
     leadership and to this Court and, likewise, provide periodic reports regarding the status of the MDL to
27
     Plaintiffs’ JCCP leadership and the presiding Judge of JCCP No. 5305.
28

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 1          4.      Attend and participate in Executive Committee meetings with PIWD Co-Lead Counsel.
 2 III.     PIWD Plaintiffs’ Executive Committee
 3
            A.      Appointment. Cameron Bell of Oliver Law Group P.C., Eli J. Hare of Dicello Levitt
 4
     LLP, Michael K. Johnson of Johnson Becker PLLC, Lowell P. McKelvey of McKelvey Law LLC,
 5
     and Megan L. Roper of Bailey Cowan Heckaman PLLC shall serve as PIWD Plaintiffs’ Executive
 6

 7 Committee.

 8          B.      Responsibilities of PIWD Plaintiffs Executive Committee. Messrs. Bell, Hare,

 9 Johnson, McKelvey, and Ms. Roper, as members of PIWD Plaintiffs Executive Committee, shall have

10 the following responsibilities:

11
            1.      Coordinate and oversee the activities of PIWD Plaintiffs’ counsel during these
12
     consolidated pretrial proceedings, as well as monitor and ensure that work conducted by PIWD
13
     Plaintiffs’ counsel is reasonably necessary and avoids unnecessary costs and duplication of effort.
14

15          2.      Determine (after consultation with the Steering Committee and other plaintiffs’

16 counsel, as appropriate) the PIWD Plaintiffs’ position on all matters arising during pretrial

17 proceedings.

18
            3.      Coordinate the selection and management of any common issue and/or bellwether
19
     discovery and trials.
20
            4.      Schedule meetings of counsel for PIWD Plaintiffs, committees, and subcommittees for
21
     any appropriate purpose, including coordinating responses to questions of other parties or of the Court.
22

23 Maintain minutes or transcripts of these meetings.

24          5.      Maintain adequate time and disbursement records covering common benefit work of
25 designated counsel and establish guidelines, for approval by the Court, as to the keeping of time

26
     records and expenses.
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 1           6.      Perform any other task deemed necessary and proper for the Executive Committee to
 2 accomplish its responsibilities as defined by the Court’s orders.

 3
             7.      Attend and participate in Executive Committee meetings with PIWD Co-Lead Counsel.
 4
     IV.     PIWD Plaintiffs’ Steering Committee
 5
             A.      Appointment. Matthew K. Felty of Lytle Soule & Felty P.C., Aaron M. Heckaman of
 6

 7 Bailey Cowan Heckaman PLLC, Michael M. Gallagher Morgan & Morgan, and Hayden N. Wyatt of

 8 Bailey Cowan Heckaman PLLC shall serve as PIWD Plaintiffs Steering Committee.

 9           B.      Responsibilities of PIWD Plaintiffs Steering Committee. Messrs. Felty, Heckaman,
10 Gallagher, and Wyatt, as members of PIWD Plaintiffs Steering Committee, shall have the following

11
     responsibilities:
12
             1.      Initiate, coordinate, and conduct all pretrial discovery on behalf and for the benefit of
13
     all Plaintiffs in the actions consolidated in this MDL.
14

15           2.      Develop and propose schedules for the initiation, conduct, and completion of all

16 discovery on behalf of all Plaintiffs.

17           3.      Cause to be issued in the name of all PIWD Plaintiffs the necessary discovery requests,
18
     motions, and subpoenas pertaining to any witnesses and documents needed to properly prepare for the
19
     pretrial discovery of relevant issues found in the pleadings of this litigation.
20
             4.      Schedule meetings of counsel for PIWD Plaintiffs for any appropriate purpose,
21
     including coordinating responses to questions of other parties or of the Court. Maintain minutes or
22

23 transcripts of these meetings.

24           5.      Prepare periodic status reports summarizing the Steering Committee’s work and
25 progress. These reports must be submitted to Co-Lead Counsel and the Executive Committee.

26
             6.      Assemble and prepare “trial packages” that can be used in future cases, including cases
27
     that are remanded to transferor courts for trial.
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 1         7.      Perform any other task deemed necessary and proper for the Steering Committee to
 2 accomplish its responsibilities as defined by the Court’s orders.

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 4
     Dated: _____________                                ________________________________
 5                                                       Honorable Beth Labson Freeman
                                                         UNITED STATES DISTRICT JUDGE
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